Case 1:17-cv-02629-CM Document2 Filed 04/11/17 Page 1 of 17

 

 

UNITED STATES DISTRICT south @ GC V 43

SOUTHERN DISTRICT OF NEW YORK mgr ts

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Write the full name of each plaintiff.

 

(Include case number if one has been
assigned)

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Recean Ys (| ho seasita) Ne oN

 

 

 

Write the full name of each defendant. If you need more eo
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of

4,
names. The names listed above must be identical to those “
contained in Section Il.

 

 

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual's full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of

an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

 

 

 

Rev, 1/9/17
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I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?
a Federal Question
Diversity of Citizenship
A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?

 

 

 

 

B. If you checked Diversity of Citizenship
1. Citizenship of the parties

Of what State is each party a citizen?

The plaintiff , WW COON YOwe Ic, W\ , is a citizen of the State of
(Plaintiff sshaméy

V\ ( av (K.

(State in which the person resides and intends to remain.)

 

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

If more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

Page 2
Case 1:17-cv-02629-CM Document2 Filed 04/11/17 Page 3 of 17

if the defendant is an individual:

The defendant, , is a citizen of the State of
(Defendant’s name)

 

 

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

If the defendant is a corporation:

The defendant, New Vole ‘ ool Oo

the Stateof (AC ayo

 

. 4 L é
and has its principal place of business in the State of \ Ca . \or Ve

or is incorporated under the laws of (foreign state)

 

and has its principal place of business in

 

If more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

II. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

 

 

 

 

 

GS ly.

LA} at yprt. c Wn
First Name~ CG “Middle Initial Last Name
Hy LO Ny, “4 + . ( Procl 4 LOK Gadde, Ln | LJ .f Uhigns , | i
Street Address J , LuqIAGG
Lipgeca.nee,_ Coon vee | N) t \O4
County, C3 D ‘ State Zip Code

Ves 632. FUO koi O22.
Telephone oe Email Address (if available)

Page 3
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B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1: zg CJeanifer FrancolL2..

First Nam Last Na

Tile \ Coordinator 1 \io Peesidend O¢ CaM ye

 

Current Job Title (or other identifying iAformation)

lb SS.

Current Work Address (or other address where defendant may be served)

 

 

 

Kavos C od? [N Wh 7
County, City Sth¥e Zip Code
) r ;
Defendant 2: Cero. Yur do | pol A
First Name , Last Name

Student RihdS Cundk Cecgorsrbltita

Current Job Title. {or other identifying information)

 

Current Work Address (or other address where defendant may be served)

Masg's Coa vy Wp

County, City State Zip Code

 

Defendant 3: Hew a \ asl. AYN

First Name Last Name

Other, Of fk WAS OM

Current Job Title (or other identifying information)

GS. \Ox ck.

Current Tor Address (or other address where defendant may be served)
Ne

County, City State Zip Code

 

 

Page 4
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Defendant 4:

 

First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

Ill. STATEMENT OF CLAIM
Place(s) of occurrence: Nem Sclrvel for Voce (Loh ey

Date(s) of occurrence: 0 Off \b~—> (.

| | Ha New FACTS:
Se Ac State here briefly the FACTS that support your case. Describe what happened, how you were

harmed, and what each defendant personally did or failed to do that harmed you. Attach GQ
LCA. yor \ 4 \ %

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INJURIES: | Wo ae tw Mode A bot ps Y accarrener oe Fa Dee, obebnn

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if you were injured as a result of these actions, descrNé your fajuries and what medical ee 3 Soft |
treatment, if any, you required and received. C RAO YY VX Wel Py aaes Kw

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IV. RELIEF

 

 

 

 

 

 

   

 

State briefly what money damages or other relief you want the court to order.

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Page 6
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V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

I agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

 

 

 

 

 

 

 

 

 

, /1 es
ae | (t ‘Nae ———
yr Plaintiff's Signature -
ont LO oy 7 -
Wate pip 7 , AN
First Name Middle Initial Last Name
98 ¢ § (, eck \e Cin,
Street Address
Tippecanoe, | N
County, City — State
AES. 632.440 WlenO2H® KAO 00 pA
Telephone Number Email Address (if available)

I ke read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
es (CNo

If you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

Page 7
4/6/2017 Case 1:17-Ccv-02629-GéMisslote GAO CTHe Zurokebe Grdddetd dota Page 8 of 17
The European Graduate School / EGS is a private, non-profit graduate sche
funded. Committed to offering its students rewarding experiences of the hi
standard affordably, The EGS strives to maintain low operating costs, as ref

tuition fees.

Degree Cost (current average in USD)
MA (three years) USD 23 80.
PhD (four years) USD 27 100.6

Tuition Fees / 2016-2017

Tuition fees are calculated in USD and based on the number of required seminar and
workshop credits (seminars are typically three credits; workshops are typically one credit).
Required workshops (Venice, Research Methods, etc.) are inclusive in the tuition total;

additional elective credits must be additionally calculated (see schedule of fees).

Ist Year MA/PhD USD 10 600.00
2nd Year MA/PhD USD 10 500.00
3rd Year MA (Thesis Supervision fee) USD 2700.00
3rd Year PhD (Dissertation Supervision fee) USD 3000.00
Ath Year PhD (Dissertation Supervision fee) USD 3000.00
5th Year PhD (Dissertation Supervision fee - optional) USD 3000.00

Schedule of Tuition Fees / 2016-2017

Administration fee (one time fee) USD 100.00
Optional Writing Workshops a USD 600.00
Individual Seminar for non-matriculated students (3 Credits) USD 1800.00

*Tuition rates are based on the current curriculum and are subject to change. Tuition fees do not include health
insurance, living expenses, travel expenses, and residency accommodation. For further questions, contact the admissions

office (admissions@egs.edu).

Accommodation Fees 2016-2017
Current average cost in Valletta for a private room (not including meals):

Spring Session / Valletta, Malta EUR 50-75.00 / day (approximately)

http://egs.edu/departm ent/philosophy-art-critical-thought/admissions-pact#tuition-fees 3/9
4/6/2017 Case 1:17-Cv-02629-GédMissle CAM CTHe Zurobese Grdadetd dotbd Page 9 of 17

For more information and to make reservations see Valletta Campus Accommodation?

(/malta#accommodation)

Current average cost for a private room in a shared apartment, including three meals per
day, with our accommodations partner, Hotel Allalin, in Saas-Fee, Switzerland:

June Session / Saas-Fee, Switzerland CHF 3072.00 (CHF 128.00 / fixed day rate)

August Session / Saas-Fee, Switzerland CHF 3’072.00 (CHF 128.00 / fixed day rate)
Shared double rooms are also available starting at CHF 103.00 / fixed day rate.

For more information and to make reservations see Saas-Fee Campus Accommodation?

(/saas-fee#accommodation)

Payment Submissions
Currency: USD

Successful applicants will receive detailed registration and enrollment information in their letter of admission, including
payment instructions and deadlines for tuition fees. Keep in mind that foreign money transfers take approximately 8-10
working days. All payment submissions must include the student’s name and student ID number. Receipt of payments

will be confirmed after the payment has been credited to the EGS bank account. Once the full tuition fee has been

credited to the EGS bank account, students will receive an email confirmation of final tuition payment.

Payment Dates & Deadlines
Spring Session / Valletta, Malta /1 - 12 April, 2017

18t Year MA/PhD Students within 14 days upon 50% Tuition Deposit

receipt of admission

Matriculated Students MA/PhD 15 February 50% Tuition Deposit

All Students 15 March Final Tuition Payment
U.S. Financial Aid Students n/a Contact The EGS Financial Aid
(or other aid-based students) Office

financial.aid@egs.edu

(mailto:financial.aid@egs.edu)

http://egs.edu/departm ent/philosophy-art-critical-thought/admissions-pactiHuition-fees 49
4/6/2017 Case 1:17-cv-02629-CM [omeiunnerruttis Halemish4gdil/17 Page 10 of 17

all Wanyoung Kim <wkim027@gmail.com>

 

 

Your Funds Have Disbursed
1 message

 

FedLoan Servicing <reply-89535@email.myfedloan.org> Wed, Apr 5, 2017 at 9:15 PM
Reply-To: reply-89535@email.myfedioan.org
To: WKIM027@gmail.com

Helio WANYOUNG,

The U.S. Department of Education disbursed your additional student loan funds to EUROPEAN
GRADUATE SCHOOL-EGS on 04/01/2017. As of today, your current principal balance for the
loans we service is $69,647.59.

For more details about your disbursements, including the amounts, interest rates, and accrual,
sign in to Account Access. You'll need to create an online account if you haven't already done
so.

 

Good to Know:

Even though you are not in repayment, money sent within 120 days of the disbursement date
will reduce your principal balance and the amount of interest that will accrue over time. If you

can afford to, now is the time to lower the amount you will have to pay back later - Sign in and
make a payment today!

Piease do not reply directly to this message. instead, Contact Us with any questions.

U.S. Department of Education

Tnformation shout pour federal etudert loan

 

You may have already requested to unsubscribe from emails not specifically related to your
account, but you are receiving this email because if is an important message about your loans
and/or grants,

FedLoan Servicing, P.O, Box 69184, Harrisburg, PA 17708-0784

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Case 1:17-cv-02629-CM Document 2 Filed 04/11/17 Page 11 of 17

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WSERVICING

P.O, Box 69184 Harrisburg, PA 17106-9184
U.S. Department of Education Toll-free 800-699-2908 * Int'l 717-720-1985
+] Information about your federal student loan .
Fax 717-720-1638 * TTY: Dial 714

Monday-Friday 8am to 9pm ET

 

MARCH 10, 2017 www.MyFedLoan.org
#BWBBCFT ol
#B204 8702 8903 l1L6# ACCT NUMBER: 0837791990
WANYOUNG E KIM
920 N 7TH ST ‘

LAFAYETTE IN 47904-1814

 

NOTICE OF ELIGIBILITY FOR LOAN DISCHARGE

 

WHY WE ARE CONTACTING YOU

To advise you that we reviewed your application for loan discharge due to an Unpaid Refund and determined that you
are ineligible or that additional information/ documentation is needed. See below for the exact reason your request
was denied and for action you may need to take.

MISSING INFORMATION:
Please provide all of the supporting documentation highlighted in section 3 in order to support your request for an
unpaid refund. Please provide proof that you have contacted The New School in regards to the refund.

WHAT ACTIONS YOU NEED TO TAKE
IF YOU ARE... AND...

NOT ELIGIBLE ..can provide additional evidence or information to us that
you believe will entitle you to have your loan discharged,
please resubmit your application with any additional
information for reconsideration.

 

 

For your reference, we have included the eligibility criteria for
this discharge on the back of this letter.

MISSING INFORMATION ...would like to be reconsidered for this loan discharge, please
resubmit your request and include any information as detailed
above.

 

 

 

 

 

Note: We are returning a copy of your application for your records.

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| Case SLEEVE CM DSCMEnt 2 Filed 04/11/17 Page 13 of 17

2/20/2017 Gmail - Important notification regarding your academic record

 

Wanyoung Kim <wkim027@gmail.com>

 

Important notification regarding your academic record

 

Alina Baboolal <registra@newschool.edu> Fri, Sep 2, 2016 at 3:50 PM
Reply-To: Alina Baboolal <registra@newschool, edu>
To: Wanyoung Kim <wkim027@gmail.com>

THE
NEVV
SCHOOL.

 

Alina Baboolal, interim Associate Registrar

 

Dear Wanyoung,
| hope that you are well following graduation,

I'm writing today to inform you that on Tuesday, August 23, information in your
student record was mistakenly shared with a fellow alumnus. The information,
which was sent via email, included your name, student ID number, citizenship
status, and personal New Schoo! email addresses. Your social security
number, birth date, and financial information have not been compromised.

We sincerely apologize for this error. We have confirmed the person invoived
has deleted the email, and we are proactively monitoring this situation to
ensure the security of your information. The New School takes your privacy
very seriously, and we have taken additional steps to ensure that this does not
happen again.

Please do not hesitate to contact me at 212.229.5620 or
registra@newschool.edu if you have any questions.

 

You can unsubscribe to future messages of this nature
www. newschool. edu

https://mail.google.com/mail/wO/?ui= 28ik=c87a52c9908view=pi&q=registra%s40newschool edu&gs=true&search=query&amsg= 156ec7374ad738678siml=156e... 1/1
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2/20/2017 Gmail - Diploma Notification - DO EPLY

 

Gmail Wanyoung Kim <wkim027@gmail.com>

 

Diploma Notification - DO NOT REPLY

info@cecredentialtrust.com <info@cecredentialtrust.com> Mon, Aug 1, 2016 at 11:12 AM
To: kimw346@newschool.edu

THE NEVV SCHOOL.

 

 

Dear New School Graduate,

Congratulations on completing your degree!

This email is a notice that your diploma has been shipped and should arrive at your official maiting address within one
week, as long as it is being delivered within the U.S. International students, please allow 4 to 6 weeks for delivery.
You can confirm your official mailing address on MyNewSchool.

If you want a custom New School frame for your diploma make sure to check out: hitp://thenewschool.
universityframes.com/eframe/Weilcome.asp?reid=563

if you have any questions, please contact the Registrar's Office at (212) 229-5620 or reghelp@newschool.edu,

All the Best,
The Registrar's Office

To unsubscribe, please Click Here.

hitps://mail.google.com/mail/W0/?ui= 28ik= c87a52c9008view=pt&q=diploma%20shipped&.qs=true&search=query&msg= 15646a9ed962240aésiml=15646a8ed... 1/1
Case 1:17-cv-02629-CM Document 2 Filed 04/11/17 Page 15 of 17
11/19/2016 Ellucian Degree Works

THE NEW SCHOOL

EA

    
 

VO2016 ai

Student Kim, Wanyoung Emmanuel Jeremiah Level Graduate

Ip NO0S35346 Degree Master of Arts

Academic Standing Good Standing College New School for Social Research
Advisor Major Philosophy - Graduate

Overall GPA 3.53 Minor

Degree Progress

 

| Requirements

Legend

2 Complete

  
   

=.| Complete except for classes in-progress (T) Transfer Class
(| Not Complete | Nearly complete - see advisor @ Any course number

* Course has a Pre-requisite

36
3

   

ee Minimum GB of 2.6 met

eS Departmental Nequiraments

    

fh

GPHI 5508 Benjamin and Bloch A 3 Fall 2015
GPHI 6072 The Basic Works of Freud As 3 Fall 2015

GPHI 6076 Freudlans and Post-Freudlans B+ 3 Spring 2016

ee Philosophy Reguirenents cont toe Mysto Pragmatism n ee
GPHI 6439 Heidegger Nihitism,Metaphysics Ae 3 Fall 2015

GPHI 6525 Philosophy of History Ae 3 Spring 2016

GPHI 6645 Death in Ancient Greek Thought Bt 3 Spring 2016

Speak to your student advisor about the specific area requirements. The program requires 3 credits int Ancient Philosophy, and at least 3 credits must be taken in 4 out of the 5 Philsophy areas (Medieval &
Renaissance, Early Modern, Kant & German Idealism, 20th Century Continental, Thematic.)

GLIB 5310 Faith in Modern Literature Be 3 Spring 2016
ea Approved Elestives GPHI0001 Major TR 3 Spring 2016
a“ Satisfied by - PURDUE UNIV WEST LAFAYETTE*
Exception By: Yee, TsuyaH On: 04/27/2016 Apply Here : Apply GPHI 0007 here.

Wa

ee NON-COUNSE REQUIREMENTS
GMFL, GMEW, GMTH, GMTH, GMLO are the codes, which correspond to ta the non-course requirements

ee Loge Requirement
AN

  
 

 

. ne Logie Non-Course cnn _...GF MA Logic Requirement: PHI soot A
x Farsign Language Requirement GF MA Foreign Lang Req: PHI PA
a Whitten Examination or Theals Requirement
Be Written Examination GF MA Written Exam: PHI PA
iW
Se Oral Sxamination : GF MA Oral Exam: PHI PA
Description Date Who Block Enforced
Apaly GPN£O007 here. 04/27/2016 Yee, Tsuya H RA000033 Yes
Notes
Entered by Date
Grad Candidate: Ready to grad upon completion of courses in progress. Gustafson, Ryan Anders 03/08/2016

i

2 Complete

se

 

 

| Complete except for classes in-progress (T) Transfer Class

https://degreeaudit.newschool.edw/IRISLink,cgi7CAS=ENABLED&SERVICE=LOGON &SCRIPT=SD2WORKS&ticket=ST-7400642-SUVIIBZ1DB31cZAyWw... 1/2
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Wanyoung Kim

Wanyoung Kim did her Master of Arts at New Nietzsche's Cosmo Psych ical

for Social Research. She did her Bachelor of A

Purdue University. She attends the European 00 -A Po St N I h i list Eth OS of

Graduate School and New Centre for Researc

Practice. In her spare time, she translates wo Et i R

literature in French, Korean, German, and Sp erna etu rn
makes music; and is an activist and theorist f

pacifism and socioeconomic justice.

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